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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION


  CERTAIN UNDERWRITERS AT
  LLOYD'S, LONDON, SYNDICATES
  2623/623

         Plaintiff,

  v.                                                    CASE NO. 0:18-CV-60839-CMA

  SOLUTIONS RECOVERY CENTER, LLC,
  DANIEL J. CALLAHAN, SEAN
  CALLAHAN, and RICHARD GLASER

         Defendant.

                AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

         Plaintiff, CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, SYNDICATES

  2623/623 (hereinafter, "Underwriters"), by and through its undersigned counsel, sues Defendant,

  SOLUTIONS RECOVERY CENTER, LLC, DANIEL J. CALLAHAN, SEAN CALLAHAN, and

  RICHARD GLASER for declaratory relief, and in support thereof states as follows:

                                   JURISDICTION AND VENUE

         1.      This is an action for declaratory relief pursuant to 28 U.S.C. § 2201.

         2.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(1) based upon diversity

  of citizenship of the parties and the provisions of the Federal Declaratory Judgment Act to declare

  the rights and obligations of the parties under certain policies of insurance.

         3.      The amount in controversy is in excess of this Court’s minimum jurisdictional

  amount of $75,000.00, exclusive of interest, costs, and attorneys’ fees.

         4.      The Court has personal jurisdiction over Defendant, Solutions Recovery Center,

  LLC because, upon information and belief Solutions Recovery Center, LLC is and was at all
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  relevant times a limited liability company, conducting its business in Florida, with its principal

  place of business located in Coconut Creek, Florida.

         5.         The Court has personal jurisdiction over Defendant, Daniel J. Callahan because he

  is and was, upon information and belief, a resident of and domiciled in this state and district at all

  relevant times.

         6.         The Court has personal jurisdiction over Defendant, Sean Callahan because he is

  and was, upon information and belief, a resident of and domiciled in this state and district at all

  relevant times.

         7.         The Court has personal jurisdiction over Defendant, Richard Glaser because he is

  and was, upon information and belief, a resident of and domiciled in this state and district at all

  relevant times.

         8.         The amount in controversy includes the policy limits at issue in the present case,

  which include limits of $1,000,000 for each Claim and $3,000,000 in the aggregate.

         9.         Furthermore, the plaintiff in the Underlying Action for which the Defendants seek

  insurance coverage, alleges damages of at least $30,000,000. See Underlying Action Complaint at

  ¶1. A copy of the Complaint in the Underlying Action is attached herein as Exhibit "A".

         10.        Venue is proper in the Southern District of Florida, pursuant to 28 U.S.C. §§

  1392(a) and 1391(c), because the present claim for declaratory relief arose in this district.

  Additionally, Defendant, Solutions Recovery Center, LLC operates its principal place of business

  in Broward County, Florida. Even more, the underlying action for damages which gives rise to

  this coverage dispute is pending in the United States District Court for the Southern District of

  Florida.

         11.        All conditions precedent to the filing of this action have occurred.
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                                             PARTIES

         12.     At all times material to this action, Plaintiff, Certain Underwriters at Lloyd's,

  London, Syndicates 2623/623 (hereinafter, "Underwriters") is and were Lloyd's of London

  syndicates duly organized and existing under the laws of England, United Kingdom, with their

  principal place of business in London, England.

         13.     Certain Underwriters at Lloyd's, London, Syndicate 623 is a foreign unincorporated

  association with its principal offices in London, England, United Kingdom. Syndicate 623 receives

  its underwriting capital contributions from Members (also known as "Names") that are citizens of

  the United States. At all relevant times herein, Syndicate 623 has not had any Members or Names

  residing in Florida.

         14.     Certain Underwriters at Lloyd's, London, Syndicate 2623 is and was a foreign

  unincorporated association with its principal offices in London, England, United Kingdom.

  Syndicate 2623 receives all of its underwriting capital contributions from Beazley Underwriting

  Ltd., which is a limited liability company incorporated in the United Kingdom and is a wholly

  owned subsidiary of Beazley PLC, which is incorporated in Jersey. Syndicate 2623 is not a citizen

  of the United States and at all relevant times herein, it has not had any Members or Names residing

  in Florida.

         15.     At all times material to this action, Defendant, Solutions Recovery Center, LLC

  (hereinafter, "Solutions") is and was a limited liability company, having its principal place of

  business in Coconut Creek, Florida.

         16.     At all times material to this action, Defendant, Solutions has and had five members,

  all of whom are and were domiciled in the state of Florida and, therefore, are and were citizens of

  the state of Florida. Solutions' members are and were Daniel J. Callahan, Sean Callahan, Richard

  Glaser, David Shea and Paul Celnik.
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          17.     At all times material to this action, Solutions' member, Daniel J. Callahan, is and

  was domiciled in the state of Florida, and therefore is and was a citizen of the state of Florida.

          18.     At all times material to this action, Solutions' member, Sean Callahan, is and was

  domiciled in the state of Florida, and therefore is and was a citizen of the state of Florida.

          19.     At all times material to this action, Solutions' member, Richard Glaser, is and was

  domiciled in the state of Florida, and therefore is and was a citizen of the state of Florida.

          20.     At all times material to this action, Solutions' member, David Shea, is and was

  domiciled in the state of Florida, and therefore is and was a citizen of the state of Florida.

          21.     At all times material to this action, Solutions' member, Paul Celnik, is and was

  domiciled in the state of Florida, and therefore is and was a citizen of the state of Florida.

          22.     Accordingly, since all members of Solutions are and were Florida citizens,

  Solutions is and was a citizen of the state of Florida. See Rolling Greens MHP, L.P. v. Comcast

  SCH Holding LLC, 374 F.3d 1020, 1022 (11th Cir. 2004).

          23.     At all times material to this action, Defendant, Daniel J. Callahan is and was

  domiciled in the state of Florida. Therefore, Defendant, Daniel J. Callahan is and was a citizen of

  the state of Florida.

          24.     At all times material to this action, Defendant, Sean Callahan is and was domiciled

  in the state of Florida. Therefore, Defendant, Sean Callahan is and was a citizen of the state of

  Florida.

          25.     At all times material to this action, Defendant, Richard Glaser is and was domiciled

  in the state of Florida. Therefore, Defendant, Richard Glaser is and was a citizen of the state of

  Florida.
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          26.      Therefore, there is complete diversity of citizenship as Plaintiff is and was a United

  Kingdom citizen and all defendants are and were Florida citizens.

                                     FACTUAL ALLEGATIONS

                                         The Underlying Action

          27.      On or about December 31, 2017, Kipu Systems LLC, a Florida limited liability

  company, filed a lawsuit in the United States District Court for the Southern District of Florida

  (hereinafter, the "Underlying Action") against defendants (hereinafter, "Underlying Defendants")

  which includes the defendants to the present action. See Exhibit "A".

          28.      The Underlying Action is Case No. 1:17-cv-24733-KMW-EGT, styled Kipu

  Systems LLC v. Zencharts LLC, Zen Medical LLC, Solutions Recovery Center LLC, Solutions

  Recovery LLC, Website Consultants Inc., Callahan Holdings Inc., Richard Glaser, Keith

  Houlihan, Sean Callahan, Daniel J. Callahan, Seamus Callahan, Yanko Karkalichev, and Anton

  Aladzhov.

          29.      The Plaintiff in the Underlying Action, Kipu Systems LLC (hereinafter, "Kipu")

  alleges that the Underlying Defendants misappropriated trade secrets and intellectual property

  owned by Kipu, and subsequently manufactured and sold an infringing, copycat product that

  implements the misappropriated intellectual property and infringes upon trademarked names and

  trade secrets.

          30.      More specifically, Kipu alleges in the Underlying Action that it created an

  innovative software system for keeping and managing Electronic Medical Records, to be used in

  and by addiction treatment facilities. Kipu alleges its system automates the maintenance of records

  of addiction treatment facilities, improving addiction patient care and clinicians' productivity

  through the innovative use of technology.
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          31.     Kipu further alleges in the Underlying Action that the Kipu system required

  thousands of hours and millions of dollars to develop.

          32.     Kipu credits its system's success to the creation of valuable trade secrets in the

  design on the Kipu EMR system, such as a proprietary algorithm for assisting in treating patients,

  an "Urgent Issue" feature, easy laboratory ordering interface, and a feature which connects the

  entire patient treatment process.

          33.     Additionally, Kipu alleges it owns five issued Federal trademark registrations under

  the U.S. Patent & Trademark Office, a U.S. Copyright Registration entitled "Kipu EMR," and a

  Trademark for its "OTO" feature, which it claims is one of the most important features of the

  system because it allows clinicians to create a record of disruptive patients who negatively affect

  others in the facility.

          34.     Kipu alleges in the Underlying Action that Daniel J. Callahan, the owner of

  Coconut Creek, Florida based addiction treatment facility, Solutions, noticed the success of Kipu's

  system and hatched a plan with his son, Sean Callahan and with Richard Glaser, to purchase a

  license to use the Kipu system in Solutions, in order to gain access to the system and create a

  copycat EMR product without spending the time and money Kipu spent. Kipu alleges that Sean

  Callahan and Richard Glaser were owners of Website Consultants LLC, a computer/software

  programming company and defendant to the Underlying Action.

          35.     The Underlying Action alleges that in 2013, Daniel J. Callahan, Sean Callahan and

  Richard Glaser came up with the name for their copycat system, Zencharts, purchased the domain

  name zencharts.com, and engaged the help of Website Consultants' international programmers

  based in Bulgaria, Underlying Defendants Yanko Karkalichev and Anton Aladzhov. Around this

  time, Kipu alleges Sean Callahan and Richard Glaser were made managing members of Solutions,
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  which allegedly legitimatized their inquiries about the Kipu system since Kipu allegedly did not

  know that they also owned a software development company.

         36.     The Underlying Action further alleges that in October of 2013, Solutions entered

  into a software license agreement with Kipu to use the Kipu system in Solutions' Coconut Creek

  facility. As a result, it is alleged that Solutions obtained "Super-Admin" log-in credentials to the

  Kipu system, which provided allegedly Solutions with expanded access and review rights. Kipu

  alleges that the various admins of Solutions logged into the Kipu system a disproportionately high

  number of times in an effort to misappropriate the Kipu system and that Solutions asked Kipu

  various technical questions and sought extensive details of the Kipu system, which Kipu

  responded. Kipu claims that the two Bulgarian programmers employed by Website Consultants

  were also given "Super-Admin" credentials by Solutions, in an alleged effort to study the system

  from Bulgaria and reverse engineer Kipu's system to create a copycat system.

         37.     The Underlying Action further alleges that by June of 2014, the Underlying

  Defendants had uncovered the proprietary information from Kipu's system and by January 2015,

  they allegedly launched their copycat system called Zencharts.

         38.     The Underlying Action further alleges that once Kipu withdrew Solutions' access

  to its system, the underlying defendants gained unauthorized access to the Kipu system through

  another existing Kipu client and continued reviewing the inner workings of the Kipu system.

         39.     Kipu further alleges in the Underlying Action that Keith Houlihan, who provided

  the funding for the alleged copycat Zencharts system, moved into the same building as Kipu

  headquarters and eavesdropped on Kipu's communications with clients so Zencharts can then

  target those same clients. Kipu also alleges Zencharts offered bribes to Kipu employees for

  information regarding the technology and customer lists.
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            40.   Based on the above, Kipu asserted the following causes of action in the Underlying

  Action:

                  a) Count I is Violations of Florida's Computer Abuse and Data Recovery Act
                  ("CADRA"), pursuant to Fla. Stat. §668.801-805. CADRA protects the owner of
                  information in computers used in the operation of business, by making it illegal for
                  individuals to intentionally cause harm by obtaining unauthorized information from
                  such protected computers. Kipu claims Underlying Defendants' alleged
                  misappropriation of Kipu's intellectual property violates this law.

                  b) Count II is Breach of Contract against Solutions for allegedly breaching the 2013
                  license agreement it supposedly entered into when it first obtained use of the Kipu
                  system for the Solutions center at Coconut Creek. Kipu alleges that the agreement
                  was for $2,000 for the first month and $1,000 for the next eight months, and claims
                  that Solutions never paid any of the eight $1,000 monthly payments.

                  c) Count III is Breach of Contract for the alleged breach of the January 2014 Kipu
                  Terms of Service, by Solutions allegedly using the system for purposes other than
                  legitimate business purposes, such as reverse engineering, copying intellectual
                  property, and accessing the system to develop an infringing product.

                  d) Count IV is Misappropriation of Trade Secrets in violation 18 U.S.C. §1836. In
                  support, Kipu alleges that it is the only rightful owner of certain trade secrets, such
                  as the Kipu system and OTO Program, and took reasonable measures to keep this
                  information secret. However, Kipu alleges the Underlying Defendants used and
                  employed the Kipu system in an authorized manner that offered them access to the
                  trade secrets, which they then allegedly used to develop a similar product.

                  e) Count V is Civil Conspiracy to Commit Trade Secret Theft against Richard
                  Glaser, Sean Callahan, Dan Callahan, Seamus Callahan, Keith Houlihan, Yanko
                  Karkalichev, and Anton Aladzhov. Kipu claims the alleged actions by these
                  individuals were in furtherance of a carefully planned conspiracy to steal Kipu's
                  trade secrets and develop a competing product.

                  f) Count VI is Conversion of Confidential and Proprietary Information. Kipu
                  alleges that the Underlying Defendants willfully and intentionally stole Kipu's
                  intellectual property.

                  g) Count VII is Common Law Trespass to Chattels for the Underlying Defendants'
                  alleged trespass upon Kipu's system for the purpose of misappropriating intellectual
                  property.

                  h) Count VIII is Trademark Counterfeiting under 15 U.S.C. §1114 and 1116. Kipu
                  alleges that Underlying Defendants counterfeited and infringed on its OTO
                  Program, mentioned above. Kipu claims OTO has gained considerable popularity
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                in the addiction treatment industry and is associated with Kipu's brand. Allegedly,
                the Zencharts system contains a similar feature, which has the same function and is
                called "OTO option." Therefore, Kipu claims Underlying Defendants are in
                violation of its registered trademark in violation of Sections 32(1) and 34(d)(1)(B)
                of the Lanham Act, 15 U.S.C. § 1114(1) and 1116(d)(1)(B).

                i) Count IX is Infringement of United States Trademark Registration 15 U.S.C.
                §1114. Kipu alleges the USPTO issued a Trademark Registration to Kipu for the
                mark OTO. Therefore, for reasons similar to the previous count, Kipu alleges
                infringement of its trademarked OTO mark.

                j) Count X is Federal Unfair Competition – Passing Off, under 15 U.S.C. §1125.
                As its basis, Kipu points to Underlying Defendants' use of "OTO" in its product and
                related marketing and promotion. This unauthorized use of "OTO" allegedly
                misleads and deceives the consumer into believing Zencharts is associated with
                Kipus' system, in violation of 15 U.S.C. §1125(a).

                k) Count XI is Florida Common Law Unfair Competition, for similar alleged
                reasons as Count X.

                l) Count XII is Violation of Florida Deceptive and Unfair Practices Act under Fla.
                Stat. §501.204, which provides that unfair and/or deceptive acts and practices in
                conduct of any trade or commerce are unlawful.

                m) Finally, Count XIII is Tortious Interference with Business Relationships, for
                Underlying Defendants' alleged interference and disruption of the relationships
                between Kipu and its users/clients. Kipu alleges defendants' actions caused Kipu to
                lose a significant amount of users and potential users.

         41.    After being served with the Underlying Action's Summons and Complaint in early

  2018, Solutions requested insurance coverage from Underwriters pursuant to an insurance policy

  Underwriters issued to Solutions.

         42.    As will be discussed in more detail below, the insurance policy issued by

  Underwriters does not provide coverage, neither defense nor indemnity, for the Underlying Action.

         43.    Accordingly, Underwriters advised Solutions that they were disclaiming coverage.

         44.    Solutions' defense counsel in the Underlying Action and personal counsel, have

  continually disputed Underwriters' evaluation of coverage in multiple letters, emails, and

  telephone conversations.
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         45.     In response to Solutions' underlying defense counsel and personal counsel's

  assertions of coverage, Underwriters have always provided factual, legal, and insurance policy

  language support for its position that the Underlying Action is not covered under the Underwriters

  insurance policy.

         46.     Therefore, Underwriters are now seeking a declaration that the Underwriters

  insurance policy does not provide insurance coverage, neither defense nor indemnity, for the

  Underlying Action.

                                   UNDERWRITERS POLICY

         47.     Underwriters, issued a Miscellaneous Medical Professional Liability, General

  Liability and Advertising Liability Claims Made and Reported Insurance Policy, Policy No.

  W15F3F170401, to Solutions Recovery Center, LLC for the policy period of June 17, 2017 to June

  17, 2018 (the "Policy"). The Policy provides limits of liability of $1,000,000 Each Claim and

  $3,000,000 Term Aggregate. A copy of the Policy is attached herein as Exhibit "B".

         48.     The Policy also has an endorsement that schedules a Retroactive Date of December

  12, 2014 for Medical Professional Liability, General Liability and Advertising Liability for the

  Solutions facility in Coconut Creek, Florida.

         49.     The Policy contains the following pertinent language:

                 This is a Claims Made and Reported Policy. Except to such extent
                 as may otherwise be provided herein, the coverage afforded under
                 this insurance policy is limited to those Claims which are first made
                 against the Insured and reported to the Underwriters during the
                 Policy Period…

                                                  ****

                 I. Insuring Agreements

                 A. Coverage

                                                  ****
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              2. General Liability and Advertising Liability

              The Underwriters will pay on behalf of the Insured Damages and
              Claims Expenses which the Insured shall become legally obligated
              to pay or assumed by the Insured under contract because of any
              Claim or Claims first made against any Insured during the Policy
              Period and reported to the Underwriters during the Policy Period
              or any applicable Extended Reporting Period, for Personal
              Injury, Property Damage, or Advertising Liability caused by an
              Accident, except as excluded or limited by the terms, conditions and
              exclusions of this Policy.

                                              ****

              II. Persons Insured

              Each of the following is an Insured under this insurance to the extent
              set forth below:

                                              ****

              (c) if the Named Insured designated in item 1. of the Declarations
              is other than an individual, partnership or joint venture, the
              organization so designated and any executive officer, director,
              stockholder, Employee, employed medical director, administrator,
              volunteer worker, student, interns, or employed physician, surgeon,
              osteopath, dentist, orthodontist, chiropractor, podiatrist,
              psychiatrist, psychologist, nurse practitioner, physician assistant,
              CRNA, or midwife, thereof while acting within the scope of his or
              her duties as such; provided, however, that coverage is contingent
              on any such employed physician, surgeon, osteopath, dentist,
              orthodontist, chiropractor, podiatrist, psychiatrist, psychologist,
              nurse practitioner, physician assistant, CRNA, or midwife, being
              scheduled in Item 10. of the Declarations.

                                              ****

              This Policy shall not apply:

                                              ****

              (h) to any liability arising out of the conduct of any partnership or
              joint venture of which the Insured is a partner or member and which
              is not designated in this Policy as a Named Insured.

                                              ****

              IV. EXCLUSIONS
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                                              ****

              2. Exclusions applicable to Insuring Agreement I.A.2, General
              Liability and Advertising Liability

              The coverage under this Policy does not apply to Damages or
              Claims Expenses incurred with respect:

                                              ****

              (n) to any Claim relating to Advertising Liability arising out of:

                     (1) failure of performance of contract; provided, however,
                     that this Exclusion shall not apply to unauthorized
                     appropriation of ideas based upon alleged breach of an
                     implied contract;

                     (2) infringement of patent, trademark, service mark, and
                     trade name, other than titles or slogans by use thereof on or
                     in connections with goods, products or services sold, offered
                     for sale or advertised; or

                     (3) incorrect description or mistake in advertised price of
                     goods, products or services sold, offered for sale or
                     advertised.

              3. Exclusions applicable to both Insuring agreements I.A.1., and
              I.A.2., Professional Liability and General Liability and
              Advertising Liability

              The coverage under this Policy does not apply to Damages or
              Claims Expenses incurred with respect:

              (a) to any Claim made by or against or in connection with any
              business enterprise (including the ownership, maintenance or care
              of any property in connection therewith), not named in the
              Declarations, which is owned by any Insured or in which any
              Insured is a trustee, partner, officer, director or Employee;

                                              ****

              (d) to any Claim or circumstance that might lead to a Claim known
              to any Insured prior to the inception of this Policy and not disclosed
              to the Underwriters at inception;

                                              ****
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              (j) to any Claim for punitive or exemplary Damages, or Damages
              which are a multiple of compensatory Damages, fines, sanctions,
              taxes or penalties, or the return of or reimbursement for fees, costs
              or expenses charged by any Insured;

                                               ****

              (r) to any Claim for Personal Injury, Property Damage or
              Advertising Liability based upon or arising out of the Named
              Insured's Products;

                                               ****

              (u) to any Claim based upon or arising out of any Insured gaining
              any profit, remuneration or advantage to which such Insured was not
              legally entitled;

                                               ****

              (y) to any Claim based upon or arising out of any actual or alleged
              violation of any federal, state, or local anti-trust, restraint of trade,
              unfair competition, or price fixing law, unfair or deceptive trade
              practices, or consumer protection any rules or regulation
              promulgated thereunder…

              V. DEFINITIONS

              (a) "Accident" means an event or happening, including continuous
              or repeated exposure to substantially the same general harmful
              conditions, which involves one or more persons or entities, and
              which results in Personal Injury, Property Damage or
              Advertising Liability to such persons or entities.

              (b) "Advertising Liability" means injury arising out of one or more
              of the following, committed in the course of the Insured's
              advertising activities:

                      (1) libel, slander or defamation;

                      (2) infringement of copyright, title slogan, trade dress, or
                      advertising idea;

                      (3) piracy or idea misappropriation under an implied
                      contract; or

                      (4) invasion of right of privacy, subject always to Exclusion
                      IV.3.q.
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                                                 ****

                  (d) "Bodily Injury" means physical injury (including death at any
                  time resulting therefrom), mental injury, mental illness, mental
                  anguish, humiliation, emotional upset, shock, sickness, disease or
                  disability.

                  (e) "Claim" means a written notice received by any Insured of an
                  intention to hold the Insured responsible for compensation for
                  Damages, including the service of suit or institution of arbitration
                  against the Insured.

                                                 ****

                  (g) "Damages" means a civil monetary judgment, award or
                  settlement and does not include:

                          (1) the restitution of compensation and expenses paid to the
                          Insured for services and goods; and

                          (2) judgments or awards deemed uninsurable by law.

                                                 ****

                  (m) "Named Insured's Products" means goods or products
                  manufactured, sold, handled or distributed by the Named Insured
                  or by others trading under its name, including any container thereof
                  (other than a vehicle) but shall not include a vending machine or any
                  property, other than such container rented to or located for use of
                  others but not sold.

                                                 ****

                  (q) "Professional Services" means those professional services
                  specifically identified in Item 11. of the Declarations

        Item 11. of the Declarations schedules as Professional Services the following: Inpatient
  and Outpatient Adult Addiction Facility.

                                                 ****

                   COUNT I – DECLARATORY RELIEF AS TO SOLUTIONS

          50.     Plaintiff, Underwriters hereby incorporates by reference and restates paragraph 1-

  49 as if fully stated herein.
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            51.   It is Underwriters' position that the allegations alleged in the Underlying Action are

  not covered under the Policy.

            52.   Insuring Agreement I.A.1–Professional Liability of the Policy provides coverage

  for claims for Bodily Injury or Professional Services. See Exhibit B at Pg. 1/25.

            53.   The Policy defines "Bodily Injury" as "physical injury (including death any time

  resulting therefrom), mental injury, mental illness, mental anguish, humiliation, emotional upset,

  shock, sickness, disease or disability." See Exhibit B at Pg. 14/25.

            54.   The Underlying Action does not allege Bodily Injury, and therefore the coverage

  for Bodily Injury under Insuring Agreement I.A.1 does not provide coverage for the Underlying

  Action.

            55.   The Policy defines "Professional Services" as "Inpatient & Outpatient Adult

  Addiction Facility." See Exhibit B at Item 11, Declarations Pg. 3/4.

            56.   The Underlying Action does not allege liability arising from Professional Services,

  as it does not claim any liability out of Solutions' treatment of its patients in the adult addiction

  facility. Therefore the coverage for Professional Services under Insuring Agreement I.A.1 does

  not provide coverage for the Underlying Action.

            57.   Insuring Agreement I.A.2.–General and Advertising Liability of the Policy

  provides coverage for claims for Personal Injury, Property Damage, or Advertising Liability

  caused by an Accident. See Exhibit B at Pg. 1/25.

            58.   The Policy defines Personal Injury as: (1) Bodily Injury; (2) false arrest, false

  imprisonment, wrongful eviction, detention or malicious prosecution; (3) libel, slander,

  defamation of character or invasion of right of privacy, unless arising out of any advertising

  activities; or (4) wrongful eviction from, wrongful entry into, or invasion of the right of private
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  occupancy of a room, dwelling or premises that a person occupies, committed by or on behalf of

  its owner, landlord or lessor. See Exhibit B at Pg. 16/25.

         59.     Clearly, the Underlying Action does not contain any claim of or arising out of

  Personal Injury. Therefore, the Policy's Insuring Agreement I.A.2 for Personal Liability does not

  provide coverage for the Underlying Action.

         60.     The Policy defines Property Damage as (1) physical injury to or destruction of

  tangible property, including consequential loss of use thereof; or (2) loss of use of tangible property

  which has not been physically injured or destroyed. See Exhibit B at Pg. 16,17/25.

         61.     The Underlying Action does not allege Property Damage as defined in the Policy

  because it does not allege physical injury or destruction of tangible property, nor does it allege loss

  of use of tangible property. Accordingly, Insuring Agreement I.A.2 for claim arising out of

  Property Damage does not provide coverage for the Underlying Action.

         62.     In its request for coverage for the Underlying Action, Solutions relies on the few

  allegations in the Underlying Action that may constitute Advertising Liability against Solutions.

         63.     The Advertising Injury allegations in the Underlying Action are not made against

  Solutions.

         64.     However, to the extent any allegation of Advertising Liability can be construed as

  being against Solutions, such allegation falls under a Policy exclusion or is otherwise excluded

  under the Policy.

         65.     Under Count VIII – Trademark Counterfeiting under 15 U.S.C §§ 11141(1) and

  1116(d)(1)(B) of the Underlying Action and in support thereof, Kipu alleges that "ZenCharts and

  the Defendants which own or control ZenCharts are advertising and promoting ZenCharts'

  competing EMR software, which uses and shows the OTO Mark." See Exhibit A at ¶191.
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         66.     The above allegation in ¶191 of the Underlying Action is not made against

  Solutions because it is made against the company supposedly selling the allegedly infringing

  product, ZenCharts, and relates to its sale of the ZenCharts system. By this time, Solutions' alleged

  involvement in the alleged misappropriation scheme had been long terminated, as claimed by the

  allegations in the Underlying Action that Solutions was the addiction treatment facility that

  initially contacted and contracted with Kipu to implement the Kipu system in the Solutions facility.

  Kipu alleges it terminated Solutions' access to the system shortly thereafter once it realized the

  alleged malfeasance of the Solutions officers in their use of the Kipu system. Therefore, by the

  time ZenCharts allegedly began selling and advertising its alleged copycat product, Solutions was

  allegedly no longer involved and only ZenCharts was allegedly still involved at that time.

         67.     Moreover, the allegation in ¶191 of the Underlying Action is specifically made

  against "ZenCharts and the Defendants which own or control ZenCharts." Solutions does not own

  or control ZenCharts and, thus, this allegation is not made against Solutions.

         68.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶191 of the Underlying Action was made against Solutions, same is excluded

  under the Policy by Exclusion IV.2.(n), which excludes coverage for "any Claim relating to

  Advertising Liability arising out of:… (2) infringement of patent, trademark, service mark, and

  trade name, other than titles or slogans by use thereof on or in connection with goods, products or

  services sold, offered for sale or advertised…" See Exhibit B at Pg. 7/25.

         69.     The allegation on ¶191 of the Underlying Action was made under and in support

  of Count VIII – Trademark Counterfeiting under 15 U.S.C §§ 11141(1) and 1116(d)(1)(B).

  Specifically, the allegation is made as part of Kipu's claim that the ZenCharts system uses the OTO
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  Mark, which is allegedly trademarked to Kipu and therefore Kipu claims that ZenCharts and its

  owners are allegedly infringing on this trademark. This is directly excluded by Exclusion IV.2.(n),

  which excludes coverage for claims of Advertising Liability arising out of "infringement of

  …trademark, service mark, and trade name…"

         70.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶191 of the Underlying Action was made against Solutions, same is also

  excluded under the Policy by Exclusion IV.3.(a), which excludes coverage for "any Claim made

  by or against or in connection with any business enterprise (including the ownership, maintenance

  or care of any property in connection therewith), not named in the Declarations, which is owned

  by any Insured or in which any Insured is a trustee, partner, officer, director or Employee." See

  Exhibit B at Pg. 7/25.

         71.     As stated above, the allegation on ¶191 of the Underlying Action is made against

  "ZenCharts and the Defendants which own or control ZenCharts." Therefore, this allegation is

  directly excluded by Exclusion IV.3.(a). ZenCharts is not owned by the insured, Solutions, but it

  is owned and operated by owners, officers, and directors of Solutions. Therefore, this allegation is

  excluded under the Policy's Exclusion IV.3.(a).

         72.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶191 of the Underlying Action was made against Solutions, same is also

  excluded under the Policy by Exclusion IV.3.(d), which excludes coverage for “any claim or

  circumstance that might lead to a claim known to any insured prior to the inception of this Policy

  and not disclosed to the Underwriters at inception.” See Exhibit B at Pg. 7/25.
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          73.     Solutions allegedly engaged in the supposed scheme to misappropriate and reverse

  engineer the Kipu system since 2013 until its access was eliminated near the end of 2014 and

  beginning of 2015, in furtherance of allegedly creating a copycat system, and therefore knew of a

  "circumstance that might lead to a claim known to any insured prior to the inception of this Policy

  and not disclosed to" Underwriters at the inception of this Policy which was June 17, 2017.

          74.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶191 of the Underlying Action was made against Solutions, same is also

  excluded under the Policy by Exclusion IV.3.(u), which excludes coverage for "any Claim based

  upon or arising out of any Insured gaining any profit, remuneration or advantage to which such

  Insured was not legally entitled." See Exhibit B at Pg. 11/25.

          75.     If Solutions was included in the allegation on ¶191 of the Underlying Action, which

  it is not, then this would mean that Solutions was allegedly gaining profit, remuneration or

  advantage by its unauthorized use of trademarked intellectual property in order to sell ZenCharts

  systems. Therefore, this allegation is excluded under Exclusion IV.3.(u).

          76.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶191 of the Underlying Action was made against Solutions, same is also

  excluded under the Policy by Exclusion IV.3.(y), which excludes coverage for Claims "based upon

  or arising out of any actual or alleged violation of any federal, state, or local anti-trust, restraint of

  trade, unfair competition, or price fixing law, unfair or deceptive trade practices, or consumer

  protection any rules or regulations promulgated thereunder." See Exhibit B at Pg. 13/25.
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         77.     The allegation on ¶191 of the Underlying Action alleges Trademark Counterfeiting

  under 15 U.S.C §§ 11141(1) and 1116(d)(1)(B). In addition to the allegation being made under

  Count VIII – Trademark Counterfeiting under 15 U.S.C §§ 11141(1) and 1116(d)(1)(B), the very

  next paragraph in the complaint states, "The Defendants' actions constitute trademark

  counterfeiting in violation of Sections 32(1) and 34(d)(1)(B) of the Lanham Act, 15 U.S.C §§

  11141(1) and 1116(d)(1)(B).

         78.     Inarguably, this allegation is excluded by Exclusion IV.3.(y) for "alleged violation

  of any federal, state, or local anti-trust, restraint of trade, unfair competition, or price fixing law,

  unfair or deceptive trade practices, or consumer protection any rules or regulations promulgated

  thereunder." See Exhibit B at Pg. 13/25.

         79.     Additionally, under Count X – Federal Unfair Competition – Passing Off 15 U.S.C.

  § 1125(a) of the Underlying Action and in support thereof, Kipu alleges that "Defendants'

  advertising and marketing of its misappropriated software under the Infringing Name all leads to

  the suggestion that there is some affiliation, endorsement, license or relationship between

  ZenCharts and Kipu, when there is not." See Exhibit A at ¶214.

         80.     The allegation on ¶214 of the Underlying Action was not made against Solutions

  because it is alleging that ZenCharts used the OTO Mark in its system. As described above,

  Solutions has nothing to do with ZenCharts. By the time ZenCharts was allegedly selling its

  system, Solutions' alleged involvement had been long terminated and only ZenCharts was

  allegedly involved.

         81.     In fact, two paragraphs above ¶214 of the Underlying Action, it states, "The

  Defendants have knowingly and intentionally used the 'OTO' and/or 'OTO Option' (the 'Infringing

  Name') in their competing ZenCharts System – as well as in the related marketing and promotion
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  of their competing EMR software." See Exhibit A at ¶212. Clearly, this allegation is made against

  ZenCharts related to its allegedly unauthorized use of the 'OTO' mark and is not directed at

  Solutions, which was the addiction facility center where the ZenCharts owners allegedly first used

  the Kipu software and supposedly began their alleged misappropriation of same.

         82.     The next paragraph in the Underlying Action provides, "The Defendants' use of the

  Infringing Name suggests to relevant and prospective customers seeking EMR software for

  addiction treatment centers that the ZenCharts System is affiliated, sponsored, endorsed, licensed

  or related to Kipu and/or the Kipu EMR System, and its related rights to the trade name OTO,

  when it is not." See Exhibit A at ¶213. Inarguably, this allegation, even though it bundles up

  "Defendants" just like the allegations in ¶212 and ¶214, is only directed at ZenCharts and not

  Solutions.

         83.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegations on ¶212 to ¶214 of the Underlying Action were made against Solutions, same

  are excluded under the Policy by Exclusion IV.2.(n), which excludes coverage for "any Claim

  relating to Advertising Liability arising out of:… (2) infringement of patent, trademark, service

  mark, and trade name, other than titles or slogans by use thereof on or in connection with goods,

  products or services sold, offered for sale or advertised…" See Exhibit B at Pg. 7/25.

         84.     The allegations on ¶212 to ¶214 of the Underlying Action all arise out of the alleged

  trademark infringement of ZenCharts in its supposed use of the OTO Mark (sometimes referred to

  as 'Infringing Name' in the Underlying Action), which is allegedly trademarked to Kipu. This is

  directly excluded by Exclusion IV.2.(n), which excludes coverage for claims of Advertising

  Liability arising out of "infringement of …trademark, service mark, and trade name…"
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         85.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegations on ¶212 to ¶214 of the Underlying Action were made against Solutions, same

  are also excluded under the Policy by Exclusion IV.3.(a), which excludes coverage for "any Claim

  made by or against or in connection with any business enterprise (including the ownership,

  maintenance or care of any property in connection therewith), not named in the Declarations,

  which is owned by any Insured or in which any Insured is a trustee, partner, officer, director or

  Employee." See Exhibit B at Pg. 7/25.

         86.     The allegations on ¶212 to ¶214 of the Underlying Action are made against

  ZenCharts for its alleged sale and promotion of the ZenCharts system, in which Solutions took no

  part as alleged in the Underlying Action. ZenCharts is not owned by the insured, Solutions, but it

  is allegedly owned and operated by owners, officers, and directors of Solutions. Therefore, this

  allegation is directly excluded under the Policy's Exclusion IV.3.(a).

         87.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegations on ¶212 to ¶214 of the Underlying Action were made against Solutions, same

  are also excluded under the Policy by Exclusion IV.3.(d), which excludes coverage for “any claim

  or circumstance that might lead to a claim known to any insured prior to the inception of this Policy

  and not disclosed to the Underwriters at inception.” See Exhibit B at Pg. 7/25.

         88.     Solutions allegedly engaged in the supposed scheme to misappropriate and reverse

  engineer the Kipu system since 2013 until its access was eliminated near the end of 2014 and

  beginning of 2015, in furtherance of allegedly creating a copycat system, and therefore knew of a
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  "circumstance that might lead to a claim known to any insured prior to the inception of this Policy

  and not disclosed to" Underwriters at the inception of this Policy which was June 17, 2017.

           89.    Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegations on ¶212 to ¶214 of the Underlying Action were made against Solutions, same

  are also excluded under the Policy by Exclusion IV.3.(u), which excludes coverage for "any Claim

  based upon or arising out of any Insured gaining any profit, remuneration or advantage to which

  such Insured was not legally entitled." See Exhibit B at Pg. 11/25.

           90.    If Solutions was included in the allegations on ¶212 to ¶214 of the Underlying

  Action, which it is not, then this would mean that Solutions was allegedly gaining profit,

  remuneration or advantage by its allegedly unauthorized use of trademarked intellectual property

  in order to sell ZenCharts systems. Therefore, these allegations are excluded under Exclusion

  IV.3.(u).

           91.    Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegations on ¶212 to ¶214 of the Underlying Action were made against Solutions, same

  are also excluded under the Policy by Exclusion IV.3.(y), which excludes coverage for Claims

  "based upon or arising out of any actual or alleged violation of any federal, state, or local anti-

  trust, restraint of trade, unfair competition, or price fixing law, unfair or deceptive trade practices,

  or consumer protection any rules or regulations promulgated thereunder." See Exhibit B at Pg.

  13/25.

           92.    The allegations on ¶212 to ¶214 of the Underlying Action allege Federal Unfair

  Competition –Passing Off, in violation of 15 U.S.C §1125(a). In addition to the allegations being
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  made under and in support of Count X – Federal Unfair Competition – Passing Off 15 U.S.C. §

  1125(a), the same section states, "The Defendants improper actions are in violation of 15 U.S.C.

  §1225(a) in that Defendants have used and continue to use in relation to commercial activities, a

  false designation of origin, or a false or misleading description that is likely to cause confusion,

  and to cause mistake, and to deceive, as to the affiliation, connection, or association of the

  Defendants with Kipu." See Exhibit A at ¶216. The Underlying Action continues under the same

  section, "…the Defendants' acts of unfair competition are willful and this is an exceptional case

  within the meaning of 15 U.S.C. 1117."

         93.     Inarguably, these allegations are excluded by Exclusion IV.3.(y) for "alleged

  violation of any federal, state, or local anti-trust, restraint of trade, unfair competition, or price

  fixing law, unfair or deceptive trade practices, or consumer protection any rules or regulations

  promulgated thereunder." See Exhibit B at Pg. 13/25.

         94.     Additionally, under Count XI – Florida Common Law Unfair Competition of the

  Underlying Action and in support thereof, Kipu alleges that "The Defendants' actions regarding

  the advertising, marketing, offer for sale and sale of EMR software in the drug and alcohol

  addiction treatment industry constitutes unfair competition and an infringement of Kipu's common

  law rights in the trade name OTO" See Exhibit A at ¶223.

         95.     Again, this allegation is not against Solutions since it is about ZenCharts' alleged

  sale of the ZenCharts supposed copycat system, of which Solutions played no part as alleged in

  the Underlying Action. According to the Underlying Action, Solutions was just the addiction

  treatment facility that initially contacted and contracted with Kipu to implement the Kipu system

  in the Solutions facility. Kipu allegedly terminated Solutions' access shortly thereafter. Therefore,
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  by the time ZenCharts allegedly began selling and promoting its supposed copycat product,

  Solutions was allegedly no longer involved and only ZenCharts was allegedly involved.

         96.     In short, ZenCharts allegedly sold and promoted the system, not Solutions.

  Furthermore, ZenCharts is not owned nor operated by Solutions. Therefore, this allegation is not

  made against Solutions.

         97.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶223 of the Underlying Action was made against Solutions, same is excluded

  under the Policy by Exclusion IV.2.(n), which excludes coverage "for any Claim relating to

  Advertising Liability arising out of:… (2) infringement of patent, trademark, service mark, and

  trade name, other than titles or slogans by use thereof on or in connection with goods, products or

  services sold, offered for sale or advertised…" See Exhibit B at Pg. 7/25.

         98.     Again, this allegation arises out of ZenCharts' alleged infringement of the Kipu

  system and the trademarked OTO, and is therefore directly excluded by Exclusion IV.2(n), which

  excludes coverage for claims of Advertising Liability arising out of "infringement of …trademark,

  service mark, and trade name…"

         99.     Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶223 of the Underlying Action was made against Solutions, same is excluded

  under the Policy by Exclusion IV.3.(a), which excludes coverage for "any Claim made by or

  against or in connection with any business enterprise (including ownership, maintenance or care

  of any property in connection therewith), not named in the Declarations, which is owned by any
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  Insured or in which any Insured is a trustee, partner, officer, director or Employee." See Exhibit B

  at Pg. 7/25.

         100.    As stated above, this allegation is about ZenCharts' alleged sale of a copycat

  product and trademark infringement. ZenCharts is not owned by the insured, Solutions, but it is

  allegedly owned and operated by owners, officers, and directors of Solutions. Therefore, this

  allegation is directly excluded under the Policy's Exclusion IV.3.(a)

         101.    Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶223 of the Underlying Action was made against Solutions, same is excluded

  under the Policy by Exclusion IV.3.(d), which excludes coverage for "any claim or circumstance

  that might lead to a claim known to any insured prior to the inception of this Policy and not

  disclosed to the Underwriters at inception." See Exhibit B at Pg. 7/25.

         102.    Solutions allegedly engaged in the supposed scheme to misappropriate and reverse

  engineer the Kipu system since 2013 until its access was allegedly eliminated near the end of 2014

  and beginning of 2015, in furtherance of allegedly creating a copycat system, and therefore knew

  of a "circumstance that might lead to a claim known to any insured prior to the inception of this

  Policy and not disclosed to" Underwriters at the inception of this Policy which was June 17, 2017.

         103.    Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶223 of the Underlying Action was made against Solutions, same is excluded

  under the Policy by Exclusion IV.3.(u), which excludes coverage for "any Claim based upon or

  arising out of any Insured gaining any profit, remuneration or advantage to which such Insured

  was not legally entitled." See Exhibit B at Pg. 11/25.
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         104.    If Solutions was included in the allegation on ¶223 of the Underlying Action, which

  it is not, the this would mean that Solutions allegedly was gaining profit, remuneration or

  advantage by its allegedly unauthorized use of trademarked intellectual property in order to sell

  ZenCharts systems. Therefore, this allegation is excluded under Exclusion IV.3.(u).

         105.    Notwithstanding the above proof that this allegation was not made against

  Underwriters' insured, Solutions, and without waiving any right or defense to same, even assuming

  that the allegation on ¶223 of the Underlying Action was made against Solutions, same is excluded

  under the Policy by Exclusion IV.3.(y), which excludes coverage for Claims "based upon or arising

  out of any actual or alleged violation of any federal, state, or local anti-trust, restraint of trade,

  unfair competition, or price fixing law, unfair or deceptive trade practices, or consumer protection

  any rules or regulations promulgated thereunder." See Exhibit B at Pg. 13/25.

         106.    The allegation on ¶223 of the Underlying Action alleges violations of Florida

  Common Law Unfair Competition. In addition to the allegation being made under Count XI –

  Florida Common Law Unfair Competition, the paragraph immediately above states, "This Count

  XI is an action for unfair competition under the laws of the state of Florida." See Exhibit A at ¶222.

  The next two paragraphs under the same section provide, "Kipu has been damaged by the

  Defendants' knowing and willful acts of unfair competition…" See Exhibit A at ¶224; and "These

  acts of common law unfair competition have caused, and unless enjoined, will continue to cause

  Kipu irreparable harm." See Exhibit A at ¶225.

         107.    Inarguably, the allegation on ¶223 of the Underlying Action is excluded by

  Exclusion IV.3.(y) for "alleged violation of any federal, state, local anti-trust, restraint of trade,

  unfair competition, or price fixing law, unfair or deceptive practices, or consumer protection any

  rules or regulations promulgated thereunder." See Exhibit B at Pg. 13/25.
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         108.    No other allegations in the Underlying Action can be construed as Advertising

  Liability against Solutions.

         109.    To the extent that any other allegation in the Underlying Action can be construed

  as Advertising Liability against Solutions, same is/are excluded under the Policy by pertinent

  exclusion(s) and/or other defenses.

         110.    In addition to the above referenced exclusions and defenses applying to exclude

  coverage for each and every claim of Advertising Liability, the applicable retroactive date of

  December 12, 2014 for Advertising Liability arising out of the Solutions Coconut Creek location,

  further bars coverage for such allegations. See Exhibit B at Endorsement E02867.

         111.    Most or all of the allegations against Solutions occurred prior to the retroactive

  date, and are therefore excluded from coverage. See Exhibit B at Endorsement E02867.

         112.    Furthermore, notwithstanding the fact that all Advertising Liability is excluded, any

  allegation of Advertising Liability must arise out of an "Accident" under the Policy. The Policy

  defines "Accident" as "an event or happening, including continuous or repeated exposure to

  substantially the same general harmful conditions, which involves one or more persons or entities,

  and which results in Personal Injury, Property Damage or Advertising Liability to such persons or

  entities." Therefore, that the allegations against Solutions of misappropriation of the Kipu system

  began and/or occurred before the retroactive date means that any allegations of later conduct are

  part of the same "Accident" as a continuation of substantially the same general harmful conditions.

         113.    Accordingly, coverage is barred under the applicable retroactive date because the

  "Accident" occurred prior to the retroactive date.

         114.    Furthermore, the Policy contains an endorsement titled Retroactive Limitations

  Clause, which provides: "There shall be no liability hereunder in respect of any Claim:...(b) arising
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  out of any circumstance or occurrence known to the Insured prior to the inception hereof and not

  disclosed to the Underwriters at inception." See Exhibit B at Endorsement E00985.

         115.    As described above, the Policy period is June 17, 2017 – June 17, 2018, yet

  according to the Underlying Action, Underlying Defendants' alleged malfeasance in relation to the

  Kipu system began as early as 2013, Underlying Defendants had allegedly misappropriated the

  intellectual property by 2014, and were allegedly selling the ZenCharts system by 2015.

         116.    Therefore, coverage is also barred under the Retroactive Limitations Clause

  endorsement because the Claim arises out of an alleged circumstance or occurrence known to

  insureds prior to the inception of the Policy.

         117.    Furthermore, multiple causes of action in the Underlying Action demand

  exemplary and punitive damages. However, Exclusion IV.3(j) of the Policy specifically excludes

  coverage for punitive or exemplary damages. See Exhibit B at Pg. 8/25.

         118.    In sum, all allegations against Solutions in the Underlying Action are excluded by

  the applicable retroactive date and Retroactive Limitations Clause. Moreover, all allegations that

  may be construed as Advertising Liability against Solutions are also excluded by Policy

  exclusions. Finally, no other type of coverage in the Policy besides for Advertising Liability is

  implicated by any of the allegations in the Underlying Action.

         WHEREFORE, Plaintiff, Certain Underwriters at Lloyd's, London, Syndicates 2623/623

  respectfully request this Honorable Court enter judgment in its favor, declaring that:

                 A.      No coverage exists under the Underwriters Policy for the

                 claims which have been asserted against Solutions Recovery Center,

                 LLC in the Underlying Action;
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                  B.      Certain Underwriters at Lloyd's, London, Syndicates

                  2623/623 have no duty to defend and/or indemnify Solutions

                  Recovery Center, LLC in the Underlying Action.

                  C.      Any and all such other relief this Honorable court deems just

                  and proper under the circumstances.

       COUNT II – DECLARATORY RELIEF AS TO DANIEL J. CALLAHAN, SEAN
                      CALLAHAN AND RICHARD GLASER

          119.    Plaintiff, Underwriters hereby incorporate by reference and restates paragraph 1-

  118 as if fully stated herein.

          120.    According to the Underlying Action and upon information and belief, Daniel J.

  Callahan was at all times relevant to this action and is the owner and CEO/Program Director at

  Solutions Recovery Center in Coconut Creek, Florida.

          121.    According to the Underlying Action and upon information and belief, Richard

  Glaser was at all times relevant to this action a managing member and CFO of Solutions Recovery

  Center in Coconut Creek, Florida.

          122.    According to the Underlying Action and upon information and belief, Sean

  Callahan was at all times relevant to this action manager of Solutions Recovery Center in Coconut

  Creek, Florida.

          123.    Under the Policy's section titled Persons Insured, the insureds under the Policy

  includes the Named Insured and "the organization so designated and any executive officer,

  director, stockholder, Employee…while acting within the scope of his or her duties as such."

  Therefore, Solutions is an insured as the Named Insured, and Daniel J. Callahan, Sean Callahan

  and Richard Glaser are insureds as executive officers, directors and stockholders, but only to the

  extent they were acting within the scope of their duties as such.
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            124.   Any and all allegations in the Underlying Action against Daniel J. Callahan,

  unrelated to his respective duties within Solutions, and/or while he was no longer in his position

  with Solutions, are not covered by the Policy.

            125.   Any and all allegations in the Underlying Action against Sean Callahan, unrelated

  to his respective duties within Solutions, and/or while he was no longer in his position with

  Solutions, are not covered by the Policy.

            126.   Any and all allegations in the Underlying Action against Richard Glaser, unrelated

  to his respective duties within Solutions, and/or while he was no longer in his position with

  Solutions, are not covered by the Policy.

            127.   To the extent that there are any allegations in the Underlying Action against Daniel

  J. Callahan, Sean Callahan and/or Richard Glaser related to their duties within Solutions, such

  allegations either do not trigger any insuring agreement under the Policy, are excluded by the

  exclusions in the Policy discussed herein, are barred due to the Retroactive Date and Retroactive

  limitations clause, and/or are otherwise excluded from coverage under the Policy.

            128.   Furthermore, any and all allegations against any of the other Underlying

  Defendants besides for Solutions, Daniel J. Callahan, Sean Callahan and Richard Glaser are not

  covered by the Policy because said parties are not insureds under the Policy's definition of Persons

  Insured.

            129.   Any and all allegations against ZenCharts LLC are not covered by the Policy.

            130.   Any and all allegations against Zen Medical LLC are not covered by the Policy.

            131.   Any and all allegations against Solutions Recovery LLC are not covered by the

  Policy.
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            132.   Any and all allegations against Website Consultants Inc. are not covered by the

  Policy.

            133.   Any and all allegations against Callahan Holdings Inc. are not covered by the

  Policy.

            134.   Any and all allegations against Keith Houlihan are not covered by the Policy.

            135.   Any and all allegations against Seamus Callahan are not covered by the Policy.

            136.   Any and all allegations against Yanko Karkalichev are not covered by the Policy.

            137.   Any and all allegations against Anton Aladzhov are not covered by the Policy.

            WHEREFORE, Plaintiff, Certain Underwriters at Lloyd's, London, Syndicates 2623/623,

  respectfully request this Honorable Court enter judgment in its favor, declaring that:

                   A.        No coverage exists under the Underwriters Policy for the

                   claims which have been asserted against Daniel J. Callahan, Sean

                   Callahan and Richard Glaser in the Underlying Action;

                   B.        Certain Underwriters at Lloyd's, London, Syndicates

                   2623/623 has no duty to defend and/or indemnify Daniel J.

                   Callahan, Sean Callahan and Richard Glaser in the Underlying

                   Action.

                   C.        No coverage exists under the Underwriters Policy for the

                   claims which have been asserted against the other Underlying

                   Defendants in the Underlying Action;

                   D.        Certain Underwriters at Lloyd's, London, Syndicates

                   2623/623 has no duty to defend and/or indemnify any of the other

                   Underlying Defendants in the Underlying Action.
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              E.     Any and all such other relief this Honorable court deems just

              and proper under the circumstances.




              Dated: April 18, 2018

                                          Respectfully submitted,


                                          /s/Rory Eric Jurman
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